Case 1:24-cr-10090-WGY Document 15-8 Filed 04/22/24

Page 1 of 2

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-4611CR005302 Commonwealth vs. Norton, Walter F

r

' Case Type:

Criminal

File Date
09/01/2016

Initiating Action:

DRUG, POSSESS CLASS B c94C §34

Case Judge:

Crane, Hon. Daniel C

] “Ail Information | Party | Charge | Event | Docket Disposition i

Events
Date Session Location Type Event Judge Result
09/01/2016 09:00 Arraignment Arraignment Held-Arraignment/S58A Danger
AM Session Request
10/14/2016 09:00 ‘Pretrial Session Pretrial Hearing Event Continued
TAM
11/22/2016 09:00 Pretrial Session Pretrial Hearing Held
AM
01/09/2017 09:00 Pretrial Session Discovery Compliance & Jury Held
AM Election
02/07/2017 09:00 Administrative Motion Hearing (CR) Held
‘1AM Session
04/05/2017 09:00 Administrative Probation Uniil Crane, Hon.
AM Session Daniel C
04/05/2017 09:00 ‘Trial Session Jury Trial (CR) Not Held But Event Resolved
AM
04/05/2018 09:00 Administrative Probation Until Crane, Hon.
AM Session Daniel C

Party Information

4 - Defendant

(Alias

7 Norton, Walter F

Party Attorney

More Party Information

Party Charge Information

1 Norton, Walter F

; ~ Defendant
| Charge #1:

Counts:

94C/34/C-0 - Misdemeanor - more than 100 days incarceration

Original Charge
Amended Charge

94C/34/C-0 DRUG, POSSESS CLASS B c94C §34 (Misdemeanor - more than 4
100 days incarceration)

° Jurisdiction
94C/32A/G-1 DRUG, POSSESS TO DISTRIB CLASS B c94C §32A(a) (Felony) , Lowell

o ‘Date of Offense

(08/31/2016

DRUG, POSSESS CLASS B c94C §34

Disposition Date
Disposition
04/05/2017

Charge Disposition

Guilty - Placed on File

EXHIBIT 8

Case.1:24-cr-10090-WGY Document15-8. Filed 04/22/24, Page.2.o0f.2

Docket Information

Docket
Date

Docket Text

Amount Image
Qwed Avail.

09/01/2016

Event Scheduled

Event: Arraignment

Date: 09/01/2016 Time: 09:00 AM
Result: Held-Arraignment/58A Hearing

09/01/2016

Event Resulted

The following event: Arraignment scheduled for 09/01/2016 09:00 AM has been resulted as
follows:

Result: Held-Arraignment/58A Hearing

09/01/2016

Event Scheduled

Event: Pretrial Hearing

Date: 10/14/2016 Time: 09:00 AM
Result: Event Continued

10/14/2016

Event Resulted
The following event: Pretrial Hearing scheduled for 10/14/2016 09:00 AM has been resulted as

follows:
Result: Event Continued

10/14/2016

Event Scheduled

Event: Pretrial Hearing

Date: 11/22/2016 Time: 09:00 AM
Result: Held

11/22/2016

Event Resulted

The following event: Pretrial Hearing scheduled for 11/22/2016 09:00 AM has been resulted as
follows:

Result: Held

11/22/2016

Event Scheduled

Event: Discovery Compliance & Jury Election
Date: 01/09/2017 Time: 09:00 AM

Result: Held

01/09/2017

Event Resulted

The following event: Discovery Compliance & Jury Election scheduled for 01/09/2017 09:00 AM
has been resulted as follows:

Result: Held

01/09/2017

Event Scheduled

Event: Motion Hearing (CR)

Date: 02/07/2017 Time: 09:00 AM
Result: Held

02/07/2017

Event Resulted
The-following event: Motion Hearing (CR) scheduled for 02/07/2017 09:00 AM has been resulted

as follows:
Result: Held

| 02/07/2017

Event Scheduled

Event: Jury Trial (CR)

Date: 04/05/2017 Time: 09:00 AM
Result: Not Held But Event Resolved

04/05/2017

Charges Disposed::

Charge #1 DRUG, POSSESS TO DISTRIB CLASS B c94C §32A(a) -
On: 04/05/2017 Judge: Hon. Daniel C Crane
By: Guilty Plea Guilty; Placed on File

04/05/2017

Event Resulted

The following event: Jury Trial (CR) scheduled for 04/05/2017 09:00 AM has been resulted as
follows:

Result: Not Held But Event Resolved .

04/05/2017

Event Scheduled
Event: Probation Until
Date: 04/05/2017 Time: 09:00 AM

04/18/2017

The following notice:

Return or Assignment of Bail
Sent On: 04/18/2017 12:10:34

